Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 1 of 19




             Exhibit T1:20-cv-003460-KBJ
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 2 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 3 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 4 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 5 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 6 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 7 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 8 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 9 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 10 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 11 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 12 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 13 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 14 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 15 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 16 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 17 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 18 of 19
Case 1:20-cv-03460-FYP Document 88-22 Filed 09/17/21 Page 19 of 19
